           CASE 0:19-cv-01856-DSD-DTS Doc. 105 Filed 03/17/22 Page 1 of 1
                                                                                         5040 Shoreham Place
                                                                                         San Diego, CA 92122
                                                                                         619.525.3990 phone
                                                                                         619.525.3991 fax
                                                                                         www.robbinsllp.com


                                         March 17, 2022


VIA CM/ECF & E-MAIL
bowbeer_chambers@mnd.uscourts.gov

The Honorable Hildy Bowbeer
Magistrate Judge
United States District Court of Minnesota
316 North Robert Street
St. Paul, MN 55101

          Re:    Walsh, et al. v. Buchholz, et al., Civil No. 0:19-cv-1856 (DSD/HB)

Dear Judge Bowbeer,

        This joint correspondence follows up on the Court's Order Amending Pretrial Scheduling
Order (Doc. No. 104), dated January 31, 2022 (the "Scheduling Order"). Consistent with the
Scheduling Order, the parties conducted several additional expert depositions in recent weeks.
Unfortunately, due to expert scheduling conflicts and unforeseen weather-related delays, the
parties were unable to complete all of the expert depositions prior to the March 11, 2022, expert
discovery deadline set forth in the Scheduling Order.

       The parties and their respective experts are working as diligently as possible to complete
the remaining expert depositions. The remaining depositions have all been scheduled and will
proceed on the following dates: March 25, 2022 (Plaintiffs' Expert); April 13, 2022 (Defendants'
Expert); April 22, 2022 (Defendants' Expert); and April 28, 2022 (Defendants' Expert).

        Although the parties want to apprise the Court of these developments, they do not seek any
additional modification of the Scheduling Order at this time. Counsel are available for a telephonic
status conference in the event the Court would like to discuss any of the matters set forth above.




                                                     Sincerely,

                                                     /s/ Stephen J. Oddo

                                                     /s/ Suzanne L. Jones

                                                     /s/ Mark T. Berhow

cc:       All counsel of record
1561633
